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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                                 CASE NO. 23-80101-CR-CANNON


   UNITED STATES OF AMERICA,

          Plaintiff,

   v.

   DONALD J. TRUMP,

         Defendant.
   ________________________________/

          PROTECTIVE ORDER PERTAINING TO CLASSIFIED INFORMATION
              DISCLOSED TO FORMER PRESIDENT DONALD J. TRUMP
                          AND DEFENSE COUNSEL 1

          THIS MATTER comes before the Court upon the Government’s Renewed Motion for

   Protective Order pursuant to Section 3 the Classified Information Procedures Act, Pub. L. 96–456,

   94 Stat. 2025, 18 U.S.C. App. III § 3 (1980) (“CIPA”), to prevent the unauthorized use, disclosure,

   or dissemination of classified national security information and documents that will be reviewed by

   or made available to, or are otherwise in the possession of, Defendant and defense counsel in this

   case. 2 A sealed hearing was held on the Motion on September 12, 2023 [ECF No. 149].




   1
     This Order applies to classified information provided to former President Donald J. Trump,
   hereinafter referred to as “Defendant” for purposes of this Order, and his counsel. Separate
   protective orders to follow as to classified information provided to defense counsel for Waltine
   Nauta and Carlos De Oliveira.
   2
     This Order is entered without prejudice to any potential challenges to the “[c]onstitutional and
   statutory challenges to the authority of the Special Counsel to maintain this action,” to the
   “purported classification status of certain documents at issue in this action,” or to
   arguments/defenses raised under the Presidential Records Act, 44 U.S.C. §§ 2201–09 [ECF No. 66
   pp. 7–8].
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           Pursuant to the authority granted under Section 3 of CIPA, the Security Procedures

   established pursuant to Pub. L. 96-456, 94 Stat. 2025, by the Chief Justice of the United States for

   the Protection of Classified Information (reprinted following CIPA § 9) (hereinafter the “Security

   Procedures”), Rules 16(d) and 57(b) of the Federal Rules of Criminal Procedure, the general

   supervisory powers of the Court; and, in order to protect the national security, the Government’s

   Motion is GRANTED in accordance with this Order, and the following Protective Order is

   entered: 3

   1.      The Court finds that this case will involve information that has been classified in the

           interest of national security. The storage, handling, and control of this information will

           require special security precautions mandated by statute, executive order, and regulation. 4

   2.      The purpose of this Protective Order (“Order”) is to establish the procedures that must be

           followed by Defendant, defense counsel, the parties, and all other individuals who receive

           access to classified information or documents in connection with this case.                 The

           procedures set forth in this Order shall apply to all pre-trial, trial, post-trial, and appellate

           matters concerning classified information in this case and may be modified from time to

           time by further order of the Court acting under this Court’s inherent supervisory authority

           to ensure a fair and expeditious trial.        The limitations on disclosure of classified

           information set forth in this Order are binding on Defendant and his counsel and violations

           may result in criminal and/or civil penalties. The government and Defendant may also




   3
     The Court understands that the government may move for supplemental protective orders
   pursuant to CIPA and the Federal Rules of Criminal Procedure.
   4
     Any individual to whom classified information is disclosed pursuant to this Order shall not
   disclose such information to another individual unless the U.S. agency that originated that
   classified information has validated that the proposed recipient possesses an appropriate security
   clearance and need-to-know.
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          move for modification of this Order at any time for good cause shown.

   3.     Definitions. The following definitions shall apply to this Order:

                  a. “Government” or “the government” refers collectively to the Special Counsel

                      for the United States Department of Justice and its prosecutors and support staff,

                      as well as any law enforcement or intelligence community employees assisting

                      in the prosecution of this matter.

                  b. “Defense” or “defense team” refers collectively to the Defendant’s counsel and

                      any support staff assisting the Defendant’s counsel authorized to receive

                      classified information pursuant to this Order. 5

                  c. “Classified information” shall include:

                          i. Any document, recording, or information that has been classified by any

                           Executive Branch agency in the interests of national security pursuant to

                           Executive Order 13526 (or successor order), as amended, or its

                           predecessor or successor orders, or under the Atomic Energy Act (AEA),

                           42 U.S.C. § 2011, et seq., as “CONFIDENTIAL,” “SECRET,” “TOP

                           SECRET,” or “FORMERLY RESTRICTED DATA,” or additionally

                           controlled as “SENSITIVE COMPARTMENTED INFORMATION”

                           (“SCI”);

                         ii. Any document, recording, or information now or formerly in the

                           possession of a private party that (A) has been classified by the United




   5
     This Protective Order will apply to all defense counsel, both current and future, who possess the
   requisite clearance. Only defense counsel who possess the requisite clearance will have access
   to classified information.
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                              States Government as set forth above, and/or (B) has been derived from

                              information that is classified by the United States Government;

                            iii. Verbal or other unwritten or unrecorded information known to the

                              Defendant or the defense team that has been classified by the United

                              States Government as set forth above;

                            iv. Any information, regardless of its origin, that the defense knows or

                              reasonably should know contains classified information, including

                              information acquired or conveyed orally;

                            v. Any document, recording, or information as to which the defense has

                              been notified orally or in writing contains classified information; and

                            vi. Any document, recording, or information that is classified, as set forth

                              in (i), that has been approved by the United States government for limited

                              authorized disclosure to the Defendant and the defense in criminal case

                              United States v. Trump et al., 23-80101-CR-CANNON, pursuant to the

                              restrictions set forth herein. 6

                  d. “Document,” “materials,” and “information” shall include, but are not limited

                      to:




   6
     In the event that the government’s discovery obligations require disclosure of government
   information that is not marked as classified but has been deemed to be classified, the government
   will inform defense counsel specifically what the information is and, if known, the level of
   classification. If the government is disclosing information that it has reason to believe is classified
   but the classification review for that information has not been completed, the government will
   inform the defense that information must be handled as classified, consistent with this Order,
   unless and until the government confirms that it is not classified. If the Court or a party to the
   case seeks to use or disclose information that has not been formally reviewed for classification,
   the Court and the parties shall address such use or disclosure pursuant to CIPA.
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                     i. All written, printed, visual, digital, electronic, or audible matter of any

                       kind, formal or informal, including originals, conforming copies, and

                       non-conforming copies (whether different from the original by reason of

                       notation made on such copies or otherwise), as well as metadata;

                     ii. Notes (handwritten, oral, or electronic); papers; letters; correspondence;

                       memoranda; reports; summaries; photographs; maps; charts; graphs;

                       inter-office communications;      notations of any        sort   concerning

                       conversations, meetings or other communications; bulletins; teletypes;

                       telecopies; telegrams; telexes; transcripts; cables; facsimiles; invoices;

                       worksheets and drafts; microfiche; microfilm; videotapes; sound

                       recordings of any kind; motion pictures; electronic, mechanical or electric

                       records of any kind, including but not limited to tapes, cassettes, disks,

                       recordings, films, typewriter ribbons, word processing or other computer

                       tapes, disks, or thumb drives and all manner of electronic data processing

                       storage; and alterations, modifications, changes and amendments of any

                       kind to the foregoing; and

                    iii. Information obtained orally.

              e. “Access to classified information” shall mean having access to, reviewing,

                 reading, learning, or otherwise coming to know in any manner classified

                 information.

              f. “SCIF” shall refer to a sensitive compartmented information facility approved

                 by a designated CISO for the storage, handling, and control of classified

                 information.



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                                      Classified Information

   4.    All classified documents or material and the information contained therein shall remain

         classified unless the documents or material bear a clear indication that they have been

         declassified by the agency or department that is the originating agency of the document,

         material, or information contained therein.

   5.    All access to classified information shall conform to this Order.

   6.    The Defendant may disclose classified information to the defense as necessary for the

         preparation of his defense. Any classified information provided to the defense by the

         government or the Defendant is to be used solely by the defense and solely for the purpose

         of preparing the defense.

   7.    The defense may not disclose or cause to be disclosed in connection with this case any

         information known or reasonably believed to be classified information except as otherwise

         provided herein.    If the defense or the Defendant have any question regarding the

         disclosure of classified information, they shall consult with the CISO.

   8.    Any classified information the defense discusses with the Defendant in any way shall be

         handled in accordance with this Order, including such requirements as confining all

         discussions, documents, and materials to an accredited SCIF or other location authorized

         by the CISO.

   9.    The defense and the Defendant shall not disclose classified information to any person,

         except to the Court, government personnel who hold appropriate security clearances and

         have been determined to have a need-to-know that information, and those specifically

         authorized to access that information pursuant to this Order.

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   10.   Information that is classified that also appears in the public domain is not thereby

         automatically declassified unless it appears in the public domain as the result of an official

         statement by a U.S. Government Executive Branch official who is authorized to declassify

         the information.   Individuals who, by virtue of this Order or any other court order, are

         granted access to classified information may not confirm or deny classified information

         that appears in the public domain.         Prior to any attempt by the defense to have such

         information confirmed or denied in any public proceeding in this case, the defense must

         comply with the notification requirements of Section 5 of CIPA and all provisions of this

         Order.

   11.   If classified information enters the public domain, the defense and the Defendant are

         precluded from making private or public statements where the statements would reveal

         personal knowledge from non-public sources regarding the classified status of the

         information or would disclose that the defense had personal access to classified information

         confirming, contradicting, or otherwise relating to the information already in the public

         domain.    If there is any question whether information is classified, the defense must

         handle that information as though it is classified unless counsel for the government or the

         CISO confirms that it is not classified.

                                         Security Procedures

   12.   In accordance with the provisions of CIPA and the Revised Security Procedures, the Court

         has designated a CISO and alternate CISOs for this case [ECF No. 40], for the purpose of

         providing security arrangements necessary to protect against unauthorized disclosure of

         any classified information that has been made available to the Defendant and the defense

         in connection with this case.   The defense shall seek guidance from the CISO with regard

         to appropriate storage, handling, transmittal, and use of classified information.

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   13.    The government has advised the Court that certain attorneys working on this case for the

          Office of the Special Counsel, including Counselor to the Special Counsel Jay I. Bratt,

          Assistant Special Counsels Julie A. Edelstein, David V. Harbach, II, Karen E. Gilbert,

          Michael Thakur, John Pellettieri, and their supervisors, have the requisite security

          clearances to have access to the classified information that counsel for the government

          intend to use, review, or disclose in this case.

   14.    The Court has been advised, through the CISO, that former President Trump’s defense

          counsel of record, possess at least interim security clearances, permitting them to have

          access to classified information designated as “CONFIDENTIAL,” “SECRET,” or “TOP

          SECRET,” including (upon read-ins) the following SCI compartments: SI, SI-G, and TK,

          for which they have a need-to-know. 7

   15.    Protection of Classified Information. The Court finds that, to protect the classified

          information involved in this case, to the extent that counsel have the requisite security

          clearances and a “need-to-know” the classified information, they shall be given authorized

          access to classified national security documents and information as required by the

          government’s discovery obligations and subject to the terms of this Protective Order, the

          requirements of CIPA, and any other Orders of this Court.

   16.    The Defendant may have a continuing contractual obligation to the government not to

          disclose to any unauthorized person classified information known to them or in their

          possession.    The government is entitled to enforce that agreement to maintain the

          confidentiality of classified information.    The defense and the Defendant are subject to




   7
     Once counsel receive final clearances, they will promptly receive additional read-ins, at which
   time they will also be able to access additional SCI compartments for which they have a
   need-to-know.
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         this Court’s authority, contempt powers, and other authorities, and shall fully comply with

         any nondisclosure agreements he has signed, this Order, and applicable statutes.

   17.   No court personnel required by this Court for its assistance shall have access to classified

         information involved in this case unless that person shall first have received the necessary

         security clearance as determined by the CISO.

   18.   Any additional persons whose assistance the defense reasonably requires may have access

         to classified information in this case only if they are granted an appropriate security

         clearance through the CISO, obtain approval from this Court with prior notice of the

         identity of the additional persons to the U.S. government, and satisfy the other requirements

         described in this Order for access to classified information.

   19.   An individual with a security clearance and a need-to-know as determined by any

         government entity is not automatically authorized to disclose any classified information to

         any other individual, even if that other individual also has a security clearance.   Rather,

         any individual who receives classified information may disclose that information only to

         an individual who has been determined by the CISO, in consultation with the appropriate

         government entity, to have both the required security clearance and a need-to-know the

         information.

   20.   Defendant’s counsel and the Defendant agree they are subject to the terms of this Protective

         Order and any other Orders of this Court.    The substitution, departure, or removal for any

         reason from this case of any counsel for the Defendant or any member of the defense, shall

         not release that individual from the provisions of this Order.

   21.   Secure Area of Review. The CISO shall establish procedures to assure a SCIF is accessible

         during business hours to the defense, and at other times upon reasonable request as

         approved by the CISO in consultation with the Court and United States Marshals Service.

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         The SCIF shall contain a working area for the defense and will be outfitted with any secure

         office equipment requested by the defense that is reasonable and necessary to the

         preparation of the Defendant’s case.       The CISO, in consultation with counsel for the

         Defendant, shall establish procedures to assure that the SCIF may be maintained and

         operated in the most efficient manner consistent with the protection of classified

         information and in compliance with security requirements.          No classified documents,

         material, recordings, or other information may be removed from the SCIF unless so

         authorized by the CISO.     Should the CISO overhear any defense conversations or see any

         defense work product (excluding filings intended to be provided to the Court and the

         government), the CISO shall not reveal to the government (or anyone else) the content of

         any conversations they may overhear among the defense, the nature of the documents being

         reviewed, or the work being generated.      The presence of the CISO or any of his designees

         shall not operate to waive, limit, or otherwise render inapplicable, the attorney-client

         privilege.

   22.   Filings with the Court. Any pleading or other document filed by the defense that

         Defendant’s counsel knows or reasonably should know contains classified information as

         defined in paragraph 3(c) shall be filed as follows:

                a. Pleadings and other documents shall be filed under seal with the CISO or an

                      appropriately cleared designee and shall be marked, “Filed in Camera and

                      Under Seal with the Classified Information Security Officer.”        The time of

                      physical submission to the CISO or an appropriately cleared designee shall be

                      considered the date and time of filing and should occur no later than 5:00 p.m.

                      Within a reasonable time after making a submission to the CISO or an

                      appropriately cleared designee, the defense shall file on the public record in the

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                    CM/ECF system a “Notice of Filing” notifying the Court that the submission

                    was made to the CISO or an appropriately cleared designee.       The notice should

                    contain only the case caption and an unclassified title of the filing.

                b. The CISO or an appropriately cleared designee shall immediately deliver under

                    seal to the Court and counsel for the government any pleading or document to

                    be filed by the defense that contains classified information, unless the pleading

                    or document is an ex parte and in camera filing.        The CISO shall promptly

                    consult with representatives of the appropriate agencies to determine whether

                    the pleading or document contains classified information.       If it is determined

                    that the pleading or document contains classified information, the CISO shall

                    ensure that the pleading or document is marked with the appropriate

                    classification markings and that the pleading or document remains under seal.

   23.   Filing of Papers by the Government.        Any pleading or other document filed by the

         government that counsel for the government knows or reasonably should know contains

         classified information as defined herein, shall be filed as follows:

                a. The document shall be filed under seal with the CISO or an appropriately

                    cleared designee and shall be marked, “Filed in Camera and Under Seal with

                    the Classified Information Security Officer.” The time of physical submission

                    to the CISO or an appropriately cleared designee shall be considered the date

                    and time of filing and should occur no later than 5:00 p.m.               Within a

                    reasonable time after making a submission to the CISO, counsel for the

                    government shall file on the public record in the CM/ECF system a “Notice of

                    Filing” notifying the Court that the submission was made to the CISO.          The

                    notice should contain only the case caption and an unclassified title of the filing.

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                b. The CISO shall immediately deliver under seal to the Court and counsel for the

                    defense any pleading or document to be filed by the government that contains

                    classified information, unless the pleading or document is an ex parte filing.

   24.   Record and Maintenance of Classified Filings.      The CISO shall maintain a separate sealed

         record for those materials which are classified.        The CISO shall be responsible for

         maintaining the secured records for purposes of later proceedings or appeal.

   25.   The Classified Information Procedures Act.      Procedures for public disclosure of classified

         information in this case shall be those established by CIPA.       The defense shall comply

         with the requirements of CIPA Section 5 prior to any disclosure of classified information

         during any proceeding in this case.   As set forth in Section 5, the defense shall not disclose

         any information known or believed to be classified in connection with any proceeding until

         notice has been given to counsel for the government and until the government has been

         afforded a reasonable opportunity to seek a determination pursuant to the procedures set

         forth in CIPA Section 6, and until the time for the government to appeal any adverse

         determination under CIPA Section 7 has expired or any appeal under Section 7 by the

         government is decided.    Any conferences with the Court involving classified information

         shall be conducted in camera in the interest of the national security, be attended only by

         persons granted access to classified information and a need-to-know, and the transcripts of

         such proceedings shall be maintained under seal.

   26.   Access to Classified Information.     In the interest of the national security, representatives

         of the defense granted access to classified information shall have access to classified

         information only as follows:

                a. All classified information produced, possessed, created or maintained by the

                    defense, including notes and any other work product, and all classified
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                  information disclosed by the United States government to the defense, shall be

                  stored, maintained and used only in the SCIF established by the CISO, unless

                  otherwise authorized by the CISO.

               b. Special procedures for audio recordings. Any classified audio recordings that

                  the government discloses to the defense shall be maintained by the CISO in the

                  SCIF.     Such recordings may only be reviewed on a stand-alone, non-

                  networked computer or other device within the SCIF that does not have the

                  capability to duplicate or transmit information.        The defense must use

                  headphones to review such recordings, and the headphones must be wired and

                  not have any wireless capability.

               c. The defense shall have free access to the classified information in the SCIF

                  established by the CISO and shall be allowed to take notes and prepare

                  documents with respect to those materials.

               d. The defense shall not copy or reproduce any classified information in any

                  manner or form, except with the approval of the CISO and in accordance with

                  the procedures established by the CISO for the operation of the SCIF.

               e. All documents prepared by the defense (including, without limitation, pleadings

                  or other documents intended for filing with the Court) that do or may contain

                  classified information must be prepared in the SCIF on word processing

                  equipment approved by the CISO.        All such documents and any associated

                  materials (such as notes, drafts, copies, typewriter ribbons, magnetic

                  recordings, exhibits, thumb drives, discs, CDs, DVDs exhibits, and electronic

                  or digital copies) that may contain classified information shall be maintained in

                  the SCIF unless and until the CISO determines those documents or associated

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                  materials are unclassified in their entirety, or if secure removal is authorized by

                  the CISO.     None of these materials shall be disclosed to counsel for the

                  government or any other party.

               f. The defense shall discuss classified information only within the SCIF or in an

                  area authorized by the CISO.

               g. The defense shall not disclose, without prior approval of the Court, classified

                  information to any person not named in this Order except to the Court, Court

                  personnel, and government personnel identified by the CISO as having the

                  appropriate clearances and the need-to-know.        Counsel for the government

                  shall be given an opportunity to be heard in response to any defense request for

                  disclosure to a person not identified in this Order.    Any person approved by

                  this Court for access to classified information under this paragraph shall be

                  required to obtain the appropriate security clearance and to comply with all the

                  terms and conditions of the Order. As set forth above, the defense shall not

                  disclose classified information, even to an individual with the appropriate

                  security clearance, without following the procedures referenced in this Order.

               h. The defense shall not discuss classified information over any standard

                  commercial telephone instrument or office intercommunication systems,

                  including but not limited to the Internet and electronic mail, or in the presence

                  of any person who has not been granted access to classified information by the

                  Court.

               i. Any documents written by the defense that do or may contain classified

                  information shall be transcribed, recorded, typed, duplicated, copied, or

                  otherwise prepared only by persons who have received an appropriate approval

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                      for access to classified information.

                   j. The defense may disclose classified information to the Defendant unless the

                      government informs the defense when providing the information that it will be

                      moving the Court for an order to prohibit the classified information from being

                      disclosed to Defendant, in which case the defense may not share the information

                      with Defendant absent a Court order allowing it to do so and the government

                      informing the defense that it does not intend to exercise any further rights under

                      CIPA.

   27.   Any unauthorized disclosure or mishandling of classified information may constitute

         violations of federal criminal law.    In addition, any violation of the terms of this Order

         shall be brought immediately to the attention of the Court and may result in a charge of

         contempt of Court and possible referral for criminal prosecution.         Any breach of this

         Order may also result in termination of an individual’s access to classified information.

         Persons subject to this Order are advised that direct or indirect unauthorized disclosure,

         retention or handling of classified documents or information could cause serious damage,

         and in some cases exceptionally grave damage, to the national security of the United States,

         or may be used to the advantage of a foreign nation against the interests of the United

         States.    The purpose of this Order is to ensure that those authorized to receive classified

         information in connection with this case will never divulge that information to anyone not

         authorized to receive it.

   28.   All classified documents and information to which the defense has access in this case are

         now and will remain the property of the United States.        Upon demand of the CISO, all

         persons shall return to the CISO all classified information in their possession obtained

         through discovery from the government in this case, or for which they are responsible
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         because of access to classified information.   The notes, summaries, and other documents

         prepared by the defense that do or may contain classified information shall remain at all

         times in the custody of the CISO for the duration of the case.   At the conclusion of this

         case, including any appeals or ancillary proceedings thereto, all such notes, summaries,

         and other documents are to be destroyed by the CISO in the presence of counsel for the

         Defendant if they choose to be present.

   29.   Nothing contained in this Order shall be construed as a waiver of any right of the

         Defendant.       No admission made by the Defendant or his counsel during pretrial

         conferences may be used against the Defendant unless it is in writing and signed by the

         Defendant.       See CIPA § 2.

   30.   A copy of this Order shall be issued forthwith to counsel for the Defendant who shall be

         responsible for advising the Defendant and representatives of the defense of the contents

         of this Order.

         SO ORDERED in Chambers at Fort Pierce, Florida, this 13th day of September 2023.




                                              ____________________________________
                                              HON. AILEEN M. CANNON
                                              UNITED STATES DISTRICT COURT JUDGE



   cc:   counsel of record




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